 

10
11
12
13
“44
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

STUART F. DELERY

Assistant Attorney General

ANDRE BIROTTE JR.

United States Attorney

LEON W. WEIDMAN

Chief, Civil Division

DAVID K. BARRETT

Chief, Civil Fraud Section

SUSAN HERSHMAN

Deputy Chief, Civil Fraud Section

JOHN LEE (Cal. Bar No. 128696)

Assistant United States Attorneys
Room 7516, Federal Building
300 North Los Angeles Street
Los Angeles,

Telephone: (213) 894-3995
Facsimile: (213) 894-2380
E-mail: john.lee2@usdoj.gov

MICHAEL: D. GRANSTON
PATRICIA L. HANOWER

DAVID T. COHEN

Attorneys, Civil Division

California 90012

Cabe 2:13-cv-05861-JLS-AJW Document 15 Filed 04/03/14 Page 1of1i2 Page ID #:130

OHS Hd O- UdF Ale

 

|

United States Department of Justice

P.O. Box 261
Ben Franklin Station

Washington, D.C. 20044
Telephone: (202) 307-0136
Facsimile: (202) 307-3852
E-mail: david.t.cohen@usdoj.gov

Attorneys for the
UNITED STATES OF AMERICA

UNITED STATES

DISTRICT

COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN

UNITED STATES OF AMERICA ex rel.
[UNDER SEAL],

Plaintiff,
V.
[UNDER SEAL],

Defendant.

ee ee ee ee ee ee ee ee ee ee ee ee ee

 

DIVISION

NO. CV 13-5861 GHK (AJWx)

MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF
STIPULATION FOR [UNDER SEAL];
DECLARATION OF JOHN E. LEE IN
SUPPORT THEREOF

[FILED UNDER SEAL pursuant to
False Claims Act, 31 U.S.C.
§ 3730(b) (2) and (3)]

[FILED OR LODGED CONCURRENTLY
HEREWITH: STIPULATION FOR [UNDER
SEAL]; [PROPOSED] ORDER]

 
 

10
11
12
13
14
15
16
“17
18
19
20
21
22
23
24
25
26
27

28

Case 2:13-cv-05861-JLS-AJW) Document 15 Filed 04/03/14 Page 2of12 Page ID #131

STUART F. DELERY

Assistant Attorney General

ANDRE BIROTTE JR.

United States Attorney

LEON W. WEIDMAN

Chief, Civil Division

DAVID K. BARRETT

Chief, Civil Fraud Section

SUSAN HERSHMAN ,

Deputy Chief, Civil Fraud Section

JOHN LEE (Cal. Bar No. 128696)

Assistant United States Attorneys
Room 7516, Federal Building
300 North Los Angeles Street
Los Angeles, California 90012
Telephone: (213) 894-3995
Facsimile: (213) 894-2380
E-mail: john.lee2@usdoj.gov

MICHAEL D. GRANSTON

PATRICIA LL. HANOWER

DAVID T. COHEN

Attorneys, Civil Division

United States Department of Justice
P.O. Box 261
Ben Franklin Station
Washington, D.C. 20044
Telephone: (202) 307-0136
Facsimile: (202) 307-3852
E-mail: david.t.cohen@usdoj.gov

Attorneys for the

UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

UNITED STATES OF AMERICA ex rel. NO. CV 13-5861 GHK (AJWx)

MARIA GUZMAN,
MEMORANDUM OF POINTS AND

AUTHORITIES IN SUPPORT OF
STIPULATION FOR EXTENSION OF
TIME TO NOTIFY COURT OF ELECTION
TO INTERVENE; DECLARATION OF
JOHN E. LEE

Plaintiff,
Vv.
INSYS THERAPEUTICS, INC.,
[FILED UNDER SEAL pursuant to

False Claims Act, 31 U.S.C.
§ 3730(b) (2) and (3)]

Defendant.

[FILED OR LODGED HEREWITH:
STIPULATION; [PROPOSED] ORDER]

ee ee ee ee ee ee ee es ee ee ee ee ee ee ee ee

 

 

 
 

LO
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Cdse 2:13-cv-05861-JLS-AJW) Document 15 Filed 04/03/14 Page 30f12 Page ID #:132

MEMORANDUM OF POINTS AND AUTHORITIES

I. INTRODUCTION

Pursuant to 31 U.S.C. § 3730(b) (3), the United States of
America (the “United States” or the “government”) respectfully
submits this Memorandum and the accompanying Declaration in support
of its concurrently-lodged Stipulation for an order extending, by
approximately 182 days, from April 14, 2014, to and including
October 13, 2014, the time in which the United States may evaluate
the above-captioned qui tam action (“this action”) and notify the
Court of its decision as to whether to intervene in this action.

By this request, the United States further requests that the

Court maintain the Complaint and all other filings in this action

under seal during this time. Qui tam plaintiff Maria Guzman (the

“Relator”) joins in these requests.
II. ALLEGATIONS OF THE COMPLAINT |

The Relator filed this action on August 12, 2013 on behalf of
the United States against defendant INSYS Therapeutic, Inc.
(“INSYS”) under the whistleblower provisions of the FCA. INSYS is
alleged to be a specialty pharmaceutical company headquartered in
Chandler, Arizona. INSYS allegedly markets SUBSYS, a powerful
fentanyl sublingual spray approved by the Food and Drug |
Administration (“FDA”) to treat breakthrough cancer pain in opioid
tolerant patients. INSYS allegedly also markets Dronabinol SG
Capsule and is awaiting FDA approval for Dronabinol Oral Solution.

The Complaint alleges that INSYS instituted a kickback-~-fueled
off-label marketing campaign to induce doctors to prescribe SUBSYS
far beyond its stated indication and its beginning dosage of 100

micrograms. The Complaint alleges that INSYS improperly encouraged

2

 
 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:13-cv-05861-JLS-AJW } Document 15 Filed 04/03/14 Page 4of12 Page ID #:133

doctors to quickly titrate patients to higher than appropriate
SUBSYS dosage levels. The Complaint also alleges that INSYS used a
mail order pharmacy to send SUBSYS to patients who had not requested
the drug and that the pharmacy did not properly instruct patients on
the proper storage of SUBSYS. .

The Complaint further alleges that INSYS instituted programs
throughout the country in order improperly to induce doctors to
prescribe SUBSYS, providing them with: speaker’s fees and other
monetary payments, trips to strip clubs and shooting ranges, stock
options, jobs for their significant others, expensive meals, and
other benefits, in violation of federal anti-kickback laws.

The Complaint alleges that, by its conduct, INSYS violated 31

U.S.C. §§ 3729(a) (1), 42 U.S.C. § 1320a-7b, 21 U.S.C. §§ 331(a) and

360aaa, among other provisions.
III. GOOD CAUSE EXISTS TO EXTEND THE INTERVENTION DEADLINE
The FCA provides in part that the United States shall have at
least 60 days to investigate whether it will decide to intervene in
a qui tam action, and that this period may be further extended for
good cause shown:
(2) A copy of the complaint and written disclosure of
substantially all material evidence and information the person
possesses shall be served on the Government pursuant’ to Rule
4(d) (4) of the Federal Rules of Civil Procedure. The complaint
shall be filed in camera, shall remain under seal for at_least
60 days, and shall not be served on the defendant until the
court so orders. The Government may elect to intervene and
proceed with the action within 60 days after it receives both

the complaint and the material evidence and information.

 
 

cae 2:13-cv-05861-JLS-AJW JDocument 15 Filed 04/03/14 Pagé 5 of 12 Page ID #:134

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

(3) The Government may, for good cause shown, move the court

for extensions of the time during which the complaint remains

 

under seal _ under paragraph (2).

 

31 U.S.C. §§ 3730(b) (2), (3) (emphasis added).

As stated by the courts, the initial 60-day period is designed
to enable the government to “investigate the private qui tam |
relator’s allegations and determine whether they present adequate
grounds for the government to proceed with the case, and, if
adequate grounds exist, to determine whether it is in the
government’s interest to prosecute the case.” United States ex rel.

Siller v. Becton Dickinson & Co., 21 F.3d 1339, 1343 n.3 (4th Cir.

 

 

1994). “As Congress recognized, these tasks could very well take
more than 60 days." Id.; see also United States ex rel. Ridenour v.
Kaiser-Hill Co., 397 F.3d 925, 931-32 (10th Cir. 2005) ("1986

amendments allow the Government to obtain extensions beyond the
initial sixty days in which to investigate the claims”).

The United States respectfully submits that, for the reasons
stated in the attached declaration, good cause exists to extend the
intervention deadline in this action. At this time, various
investigative tasks remain to be completed in order to enable the
United States to determine whether to intervene in this action. See
Lee Decl., §§ 13-15.

The United States also requests that the Complaint and all
other documents filed or lodged in this action remain under seal
during the requested extension period. As recognized by the Ninth
Circuit, the Government should be allowed “'‘an adequate opportunity

to fully evaluate the private enforcement suit and determine both if

that suit involves matters the Government is already investigating

 
 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

dse 2:13-cv-05861-JLS-AJW) Document 15 Filed 04/03/14 Pagb 6 of 12 Page ID #135

and whether it is in the Government’s interest to intervene and take
over the civil action.’” United States ex rel. Lujan v. Hughes
Aircraft Co., 67 F.3d 242, 245 (9th Cir. 1995) (citation omitted).
Maintaining the seal is important because it allows “the qui tam
relator to start the judicial wheels in motion and protect his
litigative rights, while allowing the government the opportunity to
study and evaluate the relator’s information for possible
intervention in the gui_ tam action or in relation to an overlapping
criminal investigation.” Id.

In the present case, there is a need to keep the Complaint and
related materials under seal pending completion of the necessary
investigative tasks in this action. See Lee Decl., § 17.
Accordingly, the intervention and sealing period should be extended
to and including October 13, 2014.

Iv. CONCLUSION

For the foregoing reasons, the United States respectfully
requests that the Court extend the time in which the United States
may investigate and evaluate this action and decide whether to
intervene. This extension would extend the time for intervention to

and including October 13, 2014. During this time, the Complaint and

 
 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

cope 2:13-cv-05861-JLS-AJW Document 15 Filed 04/03/14 Pagd 7 of 12 Page ID #:136

all other documents filed or lodged in this action should also

remain under seal. The Relator joins in these requests.

DATED: april, 2014

Respectfully submitted,

ANDRE BIROTTE JR.

United States Attorney

LEON W. WEIDMAN

Chief, Civil Division

DAVID K. BARRETT

Chief, Civil Fraud Section

SUSAN R. HERSHMAN

Deputy Chief, Civil Fraud Section

MICHAEL D. GRANSTON

PATRICIA L. HANOWER

DAVID T. COHEN

Attorneys, Civil Division

United States Department of Justice

 

JOHN E. LEE
Assistant United States Attorney

Attorneys for the
UNITED STATES OF AMERICA

 
 

Case 2:13-cv-05861-JLS-AJW Document 15 Filed 04/03/14 Pagd 8 of 12 Page ID #:137

10

11

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

DECLARATION OF JOHN E. LEE

I, John E. Lee, declare as follows:

1. I am an Assistant United States Attorney (“AUSA”) in the
Civil Fraud Section of the Civil Division of the United States
Attorney’s Office (“USAO”) for the Central District of California.
I am a member of the Bar of the State of California and am admitted
to practice before this Court. I am one of the attorneys
responsible for representing the United States in the above-
captioned action (“this action”).

2. I make this declaration based partly on my own personal

knowledge and based partly upon information provided by the

l2 || government investigators and agents in this action, obtained from

our files in this action, and otherwise available from government
sources.
| Background

3. The USAO’s files in this action show the following: On
August 12, 2013, qui tam plaintiff Maria Guzman (the “Relator”)
filed a complaint under seal pursuant to the False Claims Act
(“FCA”), 31 U.S.C. §8§ 3729-3731 (“Complaint”). On or about August
12, 2013, the Relator served, by certified mail, a copy of the
Complaint and written disclosure statement pursuant to 31 U.S.C.
§ 3730(b) (2) upon the USAO in this district and the Attorney General
in Washington, D.C. The USAO received its service copy on or about
August 14, 2013.

4. In or about August 2013, I was formally assigned to
represent the United States in this action involving INSYS
Therapeutic, Inc. (“INSYS”). We promptly assembled an investigative

team. The USAO assigned an auditor, Jeff McVicker, to this action.

 

 
 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Cdse 2:13-cv-05861-JLS-AJW) Document 15 Filed 04/03/14 Pagh 9 of 12 Page ID #138

The U.S. Department of Health and Human Services, Office of
Inspector General (“HHS-OIG”), assigned a case agent, Kurt Soo Hoo,
to this action. The United States Department of Justice, Civil
Division, in Washington, D.C., assigned Senior Trial Counsel David
T. Cohen to this action. The United States Department of Justice,
Consumer Protection Branch, assigned Trial Attorney Sang H. Lee to
this action. Additionally, the Defense Criminal Investigative
Service assigned special agent Michael Koslow to this action.

5. To investigate this action, the investigative team reviewed
the Complaint and written disclosure statement, along with other
documents, that were provided by the Relator.

6. In September 2013, the investigative team interviewed the
Relator. At this interview, and subsequently, we requested from the
Relator and her counsel various additional items of information
relating to the allegations in the Complaint.

Investigative Activity Since the Seal Extension

 

7. Since the seal extension was granted on October 1, 2013, we
have diligently investigated this action. During October 2013, we
received from the Relator’s counsel various records and other items
of information that we requested in September 2013. The
investigative team reviewed these records and other information and
sought and obtained additional information and documents from other
sources relating to INSYS and its products.

8. During November 2013, we prepared and finalized six HHS-OIG
administrative subpoenas (“IG subpoenas”) for issuance and service
in this action. During this time, we continued to communicate with
the Relator and her counsel, as well as other sources, for further

information relevant to this action.

 
 

Cas

10

11

12.

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

e 2:13-cv-05861-JLS-AJW Document 15 Filed 04/03/14 Page)10 of 12. Page ID #139

9. In December 2013, we served an IG subpoena on INSYS. We
then began a series of communications with counsel for INSYS, John
T. Bentivoglio, Esq., Jennifer L. Bragg, Esq., and Maya P. Florence,
Esq., Of Skadden, Arps, Slate, Meagher & Flom, LLP, in Washington,
D.C., regarding production and other issues.

10. In January 2014, we interviewed a witness, in the presence
of the witness’s counsel, at the USAO in Boston, Massachusetts.

Also in January 2014, we began receiving some documents from INSYS
in response to its IG subpoena. We also served IG subpoenas on five
additional INSYS employees for further documents relevant to this
action and began communications with their counsel, Anthony Pacheco,
Esq., and Rebecca C. Barnhardt, Esq. of Jeffer, Mangels, Butler &
Mitchell, LLP, in Los Angeles. Further, we spoke with AUSAs in two
other judicial districts outside the Central District of California
regarding matters related to this action.

11. In February 2014, the investigative team spoke with other
governmental agencies and obtained information and records relating
to this action. We also received a second batch of documents from
counsel for INSYS. Additionally, we continued to discuss with INSYS
counsel and counsel for the five INSYS employees various issues
related to the production of documents responsive to the IG
subpoenas. Both counsel for INSYS and the five INSYS employees
advised us that the volume of documents involved in this
investigation would require that search protocols be designed and
implemented before most of the responsive documents could be
located, reviewed, and produced. We began separate discussions with
both sets of counsel regarding these and other issues related to the

production of responsive documents.

 
 

Cae 2:13-cv-05861-JLS-AJW Document 15 Filed 04/03/14 Paga11of 12 Page ID #:140

1 12. In March 2014, we continued our discussions with both sets
2 |} of counsel regarding implementing appropriate search protocols.

3 | Additionally, Mr. Pacheco advised us in March 2014 that one of the

4 | subpoenaed individuals had his cellular telephone damaged in January
5 12014, after being served with an IG subpoena. Mr. Pacheco later

6 | advised us that all data on this telephone had been lost and was

7 | irretrievable. We have requested to interview this individual

g || regarding the destruction of his cellular telephone.

9 Further Investigative Activity Needed

 

10 13. At this time, we are awaiting an interview with the INSYS
11 | employee, which has been scheduled for April 2014.

12 14. We are also currently awaiting from both sets of counsel a
13 || data volume breakdown and other information necessary to design and
14 | implement appropriate search protocols. We anticipate receiving

15 | this information during April 2014 and, thereafter, continuing our
16 | negotiation of search terms and other production issues with both

17 | sets of counsel. Although the process of obtaining relevant

18 | documents pursuant to the IG subpoenas will remain ongoing as the

19 j| investigation progresses, we anticipate that approximately 120 days
20 | or longer will be needed to begin obtaining a meaningful quantity of
21 || documents from INSYS and the five individual employees.

22 15. After receiving and reviewing relevant documents pursuant
23 | to the IG subpoenas, we anticipate conducting interviews of various
24 | witnesses in this action, including current INSYS employees, as well
25 || as other persons. Because these interviews will be most productive
26 | if they are undertaken after we have reviewed subpoenaed records and
27 | conducted our analyses, we anticipate conducting most of these

28 | interviews after review of the bulk of the subpoenaed documents. We

4

 

 
 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Cafe 2:13-cv-05861-JLS-AJW Document 15. Filed 04/03/14 Page il2 of 12 Page 1D #141

anticipate that this interview process will take another 90 days or
longer to complete once it has commenced.

Extension Requested

 

16. For the foregoing reasons, the United States has not yet
completed its investigation and is not yet prepared to make a
determination as to whether to intervene in this action. We believe
that at least an additional six months are needed to advance our
investigation towards making that decision. We would propose
reporting to the Court toward the end of the requested extension
period as to the progress of the investigation. Accordingly, the
United States respectfully requests an extension of the deadline to
notify the Court of its decision regarding whether to intervene in
this action by one hundred eighty-two (182) days, from April 14,
2014, to and including October 13, 2014.

17. Additionally, the United States requests that the
Complaint and other documents filed or lodged in this action be kept
under seal during this time period. This is necessary to avoid
improper dissemination of confidential information during the
government’s investigation of the allegations in this action.

18. The Relator, through her counsel, joins in the requested
extension and sealing request.

I declare under penalty of perjury under the laws of the United
States that the foregoing is true and correct.

Executed on April ZG 2014, in Los Angeles, California.

    

 

JOHN E. LEE

 
